                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                        )        MATTICE/CARTER
                                                 )
        v.                                       )        CASE NO. 1:12-CR-35
                                                 )
 KRISTI ROLLINS                                  )



                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on July 3, 2012. At

 the hearing, defendant entered a plea of guilty to Count One of the Indictment in exchange for the

 undertakings made by the government in the written plea agreement. On the basis of the record

 made at the hearing, I find that the defendant is fully capable and competent to enter an informed

 plea; that the plea is made knowingly and with full understanding of each of the rights waived by

 defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

 promises in the plea agreement; that the defendant understands the nature of the charge and

 penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Count One of the Indictment be

 accepted, that the Court adjudicate defendant guilty of the charges set forth in Count One of the

 Indictment, and that the written plea agreement be accepted at the time of sentencing. I further

 recommend that defendant remain in custody until sentencing in this matter. Acceptance of the

 plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.




                                                     1



Case 1:12-cr-00035-HSM-CHS              Document 31       Filed 07/03/12        Page 1 of 2   PageID
                                              #: 68
        The defendant=s sentencing date is scheduled for Monday, October 22, 2012, at 2:00 pm.



                                                SBj|ÄÄ|tÅ UA `|àv{xÄÄ VtÜàxÜ
                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. '636(b).




                                                   2


Case 1:12-cr-00035-HSM-CHS             Document 31        Filed 07/03/12      Page 2 of 2      PageID
                                             #: 69
